                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF NEW MEXICO

  In re:                                                        Chapter 11

  ROMAN CATHOLIC CHURCH OF THE                                  Case No. 18-13027-t11
  ARCHDIOCESE OF SANTA FE, a New Mexico
  corporation sole,

                                    Debtor.


          AMENDED EXHIBIT B TO FINAL APPLICATION FOR ALLOWANCE
     AND PAYMENT OF PROFESSIONAL COMPENSATION AND REIMBURSEMENT
     OF EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP FOR THE PERIOD
      FROM DECEMBER 18, 2018 THROUGH FEBRUARY 16, 2023, INCLUDING THE
       THIRD FEE PERIOD OF NOVEMBER 1, 2021 THROUGH FEBRUARY 16, 2023
                              [DOCKET NO. 1275]

           Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel for the Official Committee of

 Unsecured Creditors (the “Committee”) of the Roman Catholic Church of the Archdiocese of

 Santa Fe (the “Debtor”), hereby submits this Amended Exhibit B to its Final Application for

 Allowance and Payment of Professional Fees and Reimbursement of Expenses of Pachulski

 Stang Ziehl & Jones LLP for the Period from December 18, 2018 through February 16, 2023

 [Docket No. 1275] (the “Application”).

           Exhibit B includes invoices for fees and costs incurred during the Third Fee Period. The

 fees and costs for the Third Fee Period have not been the subject of any prior interim fee

 application. The Amended Exhibit B includes an invoice that was inadvertently not included.

 The Amended Exhibit B does not change any of the amounts indicated in the Application.




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  Dated: April 26, 2023                          Respectfully submitted,

                                                 PACHULSKI STANG ZIEHL & JONES LLP

                                                 By       /s/James I. Stang
                                                          James I. Stang
                                                          10100 Santa Monica Blvd., 13th Floor
                                                          Los Angeles, CA 90067
                                                          Tel: 310-277-6910
                                                          Fax: 310-201-0760
                                                          jstang@pszjlaw.com

                                                              - and –

                                                          Ilan D. Scharf
                                                          780 Third Avenue, 34th Floor
                                                          New York, NY 10017
                                                          Tel: 212-561-7721
                                                          Fax: 212-561-7777
                                                          ischarf@pszjlaw.com

                                                          Counsel for the Official Committee of
                                                          Unsecured Creditors




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                       AMENDED EXHIBIT B




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                                  Pachulski Stang Ziehl & Jones LLP
                                            10100 Santa Monica Blvd.
                                                   13th Floor
                                             Los Angeles, CA 90067
                                                                          February 16, 2023
JIS                                                                       Invoice 132043
                                                                          Client   05066
                                                                          Matter   00002
                                                                                   JIS

RE: Committee Representation

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/16/2023
               FEES                                                        $61,965.00
               EXPENSES                                                     $2,878.53
               TOTAL CURRENT CHARGES                                       $64,843.53

               BALANCE FORWARD                                            $553,178.85
               LAST PAYMENT                                                $14,983.70
               TOTAL BALANCE DUE                                          $603,038.68




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  Summary of Services by Professional
  ID        Name                                  Title                 Rate        Hours              Amount

 GSG        Greenwood, Gail S.                    Counsel              675.00        1.90          $1,282.50

 IAWN       Nasatir, Iain A. W.                   Partner              675.00        1.70          $1,147.50

                                                                                    49.20         $33,210.00
 IDS        Scharf, Ilan D.                       Partner              675.00
                                                                                    37.90         $25,582.50
 JIS        Stang, James I.                       Partner              675.00
                                                                                     1.10              $742.50
 KHB        Brown, Kenneth H.                     Partner              675.00
                                                                                   91.80           $61,965.00




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  Summary of Services by Task Code
  Task Code         Description                                              Hours                         Amount

 AP                 Appeals [B430]                                             2.90                       $1,957.50

 CO                 Claims Admin/Objections[B310]                              5.70                       $3,847.50

 GC                 General Creditors Comm. [B150]                             3.70                       $2,497.50

 HE                 Hearing                                                    0.60                        $405.00

 ME                 Mediation                                                  0.80                        $540.00

 PD                 Plan & Disclosure Stmt. [B320]                            78.10                   $52,717.50

                                                                              91.80                   $61,965.00




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  Summary of Expenses
  Description                                                                                 Amount
Conference Call [E105]                                                                        $25.52
Outside Services                                                                           $2,320.00
Pacer - Court Research                                                                        $29.20
Postage [E108]                                                                                 $1.71
Reproduction/ Scan Copy                                                                        $2.10
Research [E106]                                                                              $500.00

                                                                                           $2,878.53




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                                                                                       Hours           Rate        Amount

  Appeals [B430]
 12/12/2022   KHB     AP        Review 10th Cir. notices and emails with G.             0.40        675.00          $270.00
                                Greenwood and J. Stang re same.

 12/12/2022   GSG     AP        Review ECF notices from the 10th Circuit and            0.30        675.00          $202.50
                                emails re same.

 12/12/2022   GSG     AP        Review 10th Cir. Local rules and related forms and      0.60        675.00          $405.00
                                telephone call with R. Charles re notice of
                                appearance.

 12/13/2022   KHB     AP        Emails with G.Greenwood re response to court’s          0.20        675.00          $135.00
                                requests for filings.

 12/13/2022   GSG     AP        Telephone call with R. Charles re minute order and      0.10        675.00           $67.50
                                appearances.

 12/13/2022   GSG     AP        Confer with M. Renck re appellate filing.               0.20        675.00          $135.00

 12/14/2022   KHB     AP        Work on new filings required by court and emails        0.20        675.00          $135.00
                                with G. Greenwood re same.

 12/14/2022   GSG     AP        Revise and circulate Notice of Appearance re 10th       0.30        675.00          $202.50
                                Circuit.

 12/19/2022   GSG     AP        Confer with M. Renck and review COS re filing of        0.20        675.00          $135.00
                                Notice of Appearance.

 12/28/2022   GSG     AP        Review additional filings by appellants re              0.10        675.00           $67.50
                                appearance.

 01/27/2023   KHB     AP        Emails with R. Charles re stipulation extending         0.30        675.00          $202.50
                                dates (.2); email from J. Stang re plan confirmation
                                (.1).

                                                                                        2.90                       $1,957.50

  Claims Admin/Objections[B310]
 10/03/2022   IDS     CO        Call with Davies regarding claim 426                    0.30        675.00          $202.50

 10/03/2022   IDS     CO        Review research regarding claim 426 allowance as        1.20        675.00          $810.00
                                late claim.

 10/06/2022   IDS     CO        Call with Davies regarding motion for late claim.       0.40        675.00          $270.00

 10/07/2022   IDS     CO        Email to Davies regarding late claim motion.            0.20        675.00          $135.00

 10/07/2022   IDS     CO        Call with Chambers regarding late claim motion.         0.20        675.00          $135.00

 10/07/2022   IDS     CO        Draft stipulation regarding late claims motion          0.80        675.00          $540.00
                                adjournment.



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                                                                                        Hours           Rate        Amount

 10/27/2022   IDS     CO        Review claim no. 9, respond to SCC inquiry               1.00        675.00          $675.00
                                regarding same

 10/28/2022   IDS     CO        Research regarding treatment of late claim and           1.20        675.00          $810.00
                                required notice to Diocese

 10/28/2022   IDS     CO        Email to Stang regarding bad notice claims               0.40        675.00          $270.00

                                                                                         5.70                       $3,847.50

  General Creditors Comm. [B150]
 10/03/2022   IDS     GC        Email memo to Committee and SCC regarding plan           1.10        675.00          $742.50
                                confirmation issues.

 10/14/2022   IDS     GC        Zoom with SCC regarding plan                             1.00        675.00          $675.00
                                strategy/timing/issues

 12/09/2022   IDS     GC        Review correspondence regarding 9019 settlement.         0.60        675.00          $405.00

 12/16/2022   JIS     GC        Call with state court counsel re plan status.            0.40        675.00          $270.00

 01/11/2023   JIS     GC        Draft email to committee re status.                      0.40        675.00          $270.00

 01/12/2023   JIS     GC        Calls with two survivors regarding status.               0.20        675.00          $135.00

                                                                                         3.70                       $2,497.50

  Hearing
 10/03/2022   IDS     HE        Prepare for and attend status hearing regarding plan     0.60        675.00          $405.00
                                status.

                                                                                         0.60                        $405.00

  Mediation
 12/28/2022   JIS     ME        Review/revise response to December 5 AD letter.          0.60        675.00          $405.00

 01/12/2023   JIS     ME        Call B. Knapp re status of preparation for mediation.    0.20        675.00          $135.00

                                                                                         0.80                        $540.00

  Plan & Disclosure Stmt. [B320]
 10/03/2022   IDS     PD        Call with Walker regarding status conference.            0.50        675.00          $337.50

 10/03/2022   IDS     PD        Call with SCC regarding status conference.               0.50        675.00          $337.50

 10/03/2022   IDS     PD        Email to Schwartz regarding QSF issues for trust.        0.40        675.00          $270.00

 10/03/2022   IDS     PD        Email to Walker regarding outstanding plan               0.30        675.00          $202.50




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                                                                                       Hours           Rate        Amount
                                documents.

 10/03/2022   IDS     PD        Review and respond to comments from White               0.30        675.00          $202.50
                                regarding class 3 ballot.

 10/04/2022   IDS     PD        Email to Smith, Blumel, Fasy regarding medicare         0.40        675.00          $270.00
                                clearances.

 10/06/2022   IDS     PD        Review revised plan documents; comments                 2.30        675.00         $1,552.50
                                regarding same

 10/06/2022   IDS     PD        Call with Hall and Ford regarding plan issues.          0.80        675.00          $540.00

 10/06/2022   IDS     PD        Review and respond to Walker email regarding UST        0.30        675.00          $202.50
                                issues with plan.

 10/06/2022   IDS     PD        Analysis of medicare release language in plan.          1.20        675.00          $810.00

 10/06/2022   IDS     PD        Further review of comments received from insurers       2.80        675.00         $1,890.00
                                on plan documents.

 10/06/2022   IDS     PD        Email to Schwartz regarding medicare release            0.30        675.00          $202.50
                                language in plan.

 10/12/2022   IDS     PD        Research regarding ability to shorted DS deadline.      1.20        675.00          $810.00

 10/20/2022   IDS     PD        Draft spreadsheet regarding plan expenses (qualified    0.60        675.00          $405.00
                                fees)

 10/20/2022   IDS     PD        Review collective revisions to plan documents.          3.20        675.00         $2,160.00

 10/20/2022   IDS     PD        Review and execute note and mortgage                    1.80        675.00         $1,215.00

 10/20/2022   IDS     PD        Further comments to plan                                1.80        675.00         $1,215.00

 10/21/2022   IDS     PD        Call with SCC regarding plan                            0.80        675.00          $540.00

 10/21/2022   IDS     PD        Call with Stang regarding plan.                         1.00        675.00          $675.00

 10/28/2022   IDS     PD        Review revised class 3 ballot                           0.80        675.00          $540.00

 11/02/2022   IDS     PD        Revise allocation protocol.                             1.30        675.00          $877.50

 11/02/2022   IDS     PD        Further revisions to allocation per call with James     1.10        675.00          $742.50
                                Stang.

 11/04/2022   IDS     PD        Call with SCC regarding plan.                           1.00        675.00          $675.00

 11/04/2022   IDS     PD        Review plan documents 3 (3.0), email with DCC           3.30        675.00         $2,227.50
                                regarding timeline and various plan issues (.3).

 11/04/2022   IDS     PD        Review Plavin comments to Plan Docs.                    1.00        675.00          $675.00

 11/04/2022   IDS     PD        Review and revise Class 3 ballot.                       0.80        675.00          $540.00




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                                                                                        Hours           Rate        Amount

 11/15/2022   IDS     PD        Attention to final solicitation package.                 1.20        675.00          $810.00

 11/15/2022   IDS     PD        Final review of plan docs.                               5.00        675.00         $3,375.00

 11/15/2022   IDS     PD        Review and comment on IAWN email regarding               0.80        675.00          $540.00
                                insurance.

 12/01/2022   JIS     PD        Call with survivor re voting issues.                     0.20        675.00          $135.00

 12/02/2022   IDS     PD        SCC call regarding confirmation.                         1.00        675.00          $675.00

 12/05/2022   JIS     PD        Call with survivor's representative regarding            0.10        675.00           $67.50
                                deceased survivor and voting.

 12/05/2022   JIS     PD        Call from survivor regarding voting on plan.             0.10        675.00           $67.50

 12/06/2022   JIS     PD        Response to detailed email from survivor regarding       0.40        675.00          $270.00
                                timetable.

 12/09/2022   IDS     PD        Review correspondence regarding voting; plan.            0.40        675.00          $270.00

 12/14/2022   IDS     PD        Follow up with various SCC regarding solicitation.       0.80        675.00          $540.00

 12/15/2022   JIS     PD        Call with abuse survivor regarding plan issues.          0.30        675.00          $202.50

 12/15/2022   JIS     PD        Call T. Walker re status of promissory note and          0.20        675.00          $135.00
                                outstanding plan issues and confirming email.

 12/16/2022   JIS     PD        Review Bettinelli claims data.                           0.10        675.00           $67.50

 12/19/2022   JIS     PD        Draft email to E. Schwarz regarding computation of       0.30        675.00          $202.50
                                awards.

 12/20/2022   JIS     PD        Emails to state court counsel regarding balloting and    0.30        675.00          $202.50
                                expense/fee reports.

 12/22/2022   JIS     PD        Call E. Schwarz re mechanics of settlement funds         0.60        675.00          $405.00
                                and religious order settlements.

 12/22/2022   JIS     PD        Draft confirmation press release.                        0.30        675.00          $202.50

 12/27/2022   IAWN PD           Review confirmation order and comment regarding          1.00        675.00          $675.00
                                same to Jim Stang.

 12/27/2022   JIS     PD        Review Catholic Mutual changes to order and              0.80        675.00          $540.00
                                Debtor's response to OCC comments to confirmation
                                order.

 12/27/2022   JIS     PD        Call with T. Walker re comments on proposed              0.60        675.00          $405.00
                                changes to confirmation order.

 12/27/2022   JIS     PD        Review and revise sections X and Y to confirmation       0.30        675.00          $202.50
                                order.




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 12/28/2022   IAWN PD           Review Arrowood revisions to order and comment          0.20        675.00         $135.00
                                to Jim Stang regarding same

 12/28/2022   IAWN PD           Review Jim Stang comments regarding same                0.10        675.00          $67.50

 12/28/2022   IAWN PD           Telephone call with Jim Stang regarding hearing         0.10        675.00          $67.50

 12/28/2022   IAWN PD           Telephone call with Jim Stang after hearing             0.10        675.00          $67.50

 12/28/2022   IAWN PD           Telephone call with Jim Stang regarding issues          0.20        675.00         $135.00
                                related to confirmation order.

 12/28/2022   JIS     PD        Review/revise three orders: PRO, settling insurers      0.40        675.00         $270.00
                                and participating parties.

 12/28/2022   JIS     PD        Attend confirmation hearing.                            0.80        675.00         $540.00

 12/28/2022   JIS     PD        Call I. Nasatir regarding issues related to             0.20        675.00         $135.00
                                confirmation order.

 12/28/2022   JIS     PD        Call C. Paez regarding confirmation hearing.            0.10        675.00          $67.50

 12/28/2022   JIS     PD        Call with survivor regarding status of confirmation.    0.10        675.00          $67.50

 12/28/2022   JIS     PD        Call E. Schwarz regarding distribution of settlement    0.60        675.00         $405.00
                                funds.

 12/29/2022   JIS     PD        Call L. Ford and B. Hall regarding Christian Bros.      0.20        675.00         $135.00
                                settlement terms.

 12/29/2022   JIS     PD        Call C. Vernon regarding Christian Brothers             0.30        675.00         $202.50
                                settlement.

 01/04/2023   JIS     PD        Call with survivor re case status.                      0.10        675.00          $67.50

 01/04/2023   JIS     PD        Call B. Hall re claim status.                           0.10        675.00          $67.50

 01/07/2023   JIS     PD        Call with Eric Schwarz regarding spread sheet for       1.30        675.00         $877.50
                                fee awards.

 01/07/2023   JIS     PD        Call L. Ford regarding tax rate and spread sheet        0.30        675.00         $202.50
                                issues.

 01/07/2023   JIS     PD        Review emails and draft email regarding qualified       0.40        675.00         $270.00
                                fees and costs.

 01/09/2023   JIS     PD        Review emails regarding contingency fees and gross      0.20        675.00         $135.00
                                receipts tax issues.

 01/09/2023   JIS     PD        Call with B. Hall and B. Smith regarding qualified      0.60        675.00         $405.00
                                counsel fees defined in plan.

 01/09/2023   JIS     PD        Call J. Blumel regarding cost statement.                0.10        675.00          $67.50




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 01/10/2023   JIS     PD        Call B. Hall and B. Smith regarding gross receipts       0.60        675.00         $405.00
                                tax claim.

 01/11/2023   JIS     PD        Call Thomas Walker regarding status of payments          0.10        675.00          $67.50
                                for effective date.

 01/11/2023   JIS     PD        Call E. Schwarz re spreadsheet issues.                   0.80        675.00         $540.00

 01/11/2023   JIS     PD        Call with L. Ford and B. Hall re spreadsheet issues.     0.70        675.00         $472.50

 01/12/2023   JIS     PD        Review spreadsheet with final comments to Eric           0.20        675.00         $135.00
                                Schwarz.

 01/12/2023   JIS     PD        Prepare interim award letter for trust distributions.    0.50        675.00         $337.50

 01/13/2023   JIS     PD        Review and respond to email regarding calculation        0.30        675.00         $202.50
                                of the Franciscan religious order settlement.

 01/13/2023   JIS     PD        Review and respond to email from R. Schwarz re           0.10        675.00          $67.50
                                GRT.

 01/13/2023   JIS     PD        Review speadsheets regarding religious order and         0.80        675.00         $540.00
                                diocese payouts.

 01/13/2023   JIS     PD        Call with E. Scwarz and state court counsel              1.30        675.00         $877.50
                                reviewing draft spreadsheet.

 01/13/2023   JIS     PD        Call B. Hall re spreadsheet issues.                      0.40        675.00         $270.00

 01/14/2023   JIS     PD        Review spreadsheets related to distributions.            1.30        675.00         $877.50

 01/16/2023   JIS     PD        Draft email regarding qualified counsel costs.           0.20        675.00         $135.00

 01/16/2023   JIS     PD        Call B. Hall regarding qualified counsel costs.          0.20        675.00         $135.00

 01/16/2023   JIS     PD        Review details regarding qualified costs.                1.20        675.00         $810.00

 01/16/2023   JIS     PD        Call with SCC re cost issues.                            0.30        675.00         $202.50

 01/16/2023   JIS     PD        Call C. Nichols regarding cost issues.                   0.40        675.00         $270.00

 01/17/2023   JIS     PD        Call with Eric Schwarz regarding spreadsheet.            0.30        675.00         $202.50

 01/17/2023   IDS     PD        Attention to qualified counsel fees in plan              1.20        675.00         $810.00

 01/18/2023   JIS     PD        Draft email to Schwarz regarding cost adjustments.       0.40        675.00         $270.00

 01/18/2023   JIS     PD        Call Dan Fasy re spreadsheet adjustments.                0.10        675.00          $67.50

 01/18/2023   JIS     PD        Call Eric Schwarz with update on spreadsheet             0.30        675.00         $202.50
                                adjustments.

 01/18/2023   JIS     PD        Call L. Ford re spreadsheet adjustments and              1.00        675.00         $675.00
                                correction of claims numbers.




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 01/18/2023   JIS     PD        Call E. Schwarz re spreadsheet issues.                   0.30        675.00          $202.50

 01/18/2023   JIS     PD        Review spreadsheet line labels.                          0.10        675.00           $67.50

 01/18/2023   JIS     PD        Call with state court counsel regarding spreadsheets.    0.50        675.00          $337.50

 01/18/2023   JIS     PD        Call with E. Scwharz re spreadsheet costs.               0.20        675.00          $135.00

 01/19/2023   JIS     PD        Call Eric Schwarz re spread sheet adjustments.           0.10        675.00           $67.50

 01/19/2023   JIS     PD        Email to E. Schwarz regarding adjustments based on       0.10        675.00           $67.50
                                prior settlements.

 01/19/2023   JIS     PD        Review religious order settlement for inclusion of       0.10        675.00           $67.50
                                claim.

 01/20/2023   JIS     PD        Call E. Schwarz regarding spreadsheet issues and         0.20        675.00          $135.00
                                award letters.

 01/23/2023   JIS     PD        Call with Bryan Smith regarding issues related to        0.30        675.00          $202.50
                                chapter 7 trustee comments on award letters.

 01/23/2023   JIS     PD        Call B. Hall regarding distribution notices.             0.50        675.00          $337.50

 01/25/2023   JIS     PD        Call with claimant regarding missing evaluation.         0.30        675.00          $202.50

 01/25/2023   JIS     PD        Call M. Devine regarding claim no. 260.                  0.10        675.00           $67.50

 01/25/2023   JIS     PD        Call with E. Scwharz regarding claim no. 260 and         0.20        675.00          $135.00
                                review of same.

 01/26/2023   JIS     PD        Call E. Schwarz regarding status of award letters and    0.30        675.00          $202.50
                                trust amendment.

 01/26/2023   JIS     PD        Call Levi Monagle regarding plan awards.                 0.50        675.00          $337.50

 01/26/2023   JIS     PD        Call T. Walker re trust amendment.                       0.20        675.00          $135.00

 01/26/2023   JIS     PD        Draft motion regarding modification of trust             2.70        675.00         $1,822.50
                                agreement.

 01/26/2023   JIS     PD        Review most recent spreadsheet.                          0.20        675.00          $135.00

 01/27/2023   GSG     PD        Review emails re plan confirmation and appellate         0.10        675.00           $67.50
                                continuance.

 01/30/2023   JIS     PD        Call with state court counsel regarding plan issues.     0.20        675.00          $135.00

 01/31/2023   JIS     PD        Draft response letter to M. Bennett re award letters.    0.60        675.00          $405.00

 02/01/2023   JIS     PD        Call abuse survivor regarding award letter and case      1.30        675.00          $877.50
                                status.

 02/02/2023   JIS     PD        Review email from E. Schwarz and reply regarding         0.10        675.00           $67.50




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                                                                                        Hours           Rate        Amount
                                releases and Medicare certification.

 02/02/2023   JIS     PD        Review and revise E. Schwarz memo regarding              0.40        675.00         $270.00
                                spreadsheet calculations.

 02/02/2023   JIS     PD        Draft final survivor award letter.                       0.30        675.00         $202.50

 02/02/2023   JIS     PD        Draft email to state court counsel regarding releases    0.40        675.00         $270.00
                                and Medicare certifications.

 02/03/2023   JIS     PD        Review B. Hall email regarding deceased claimants        0.40        675.00         $270.00
                                and email to E. Schwarz re response to same.

 02/03/2023   JIS     PD        Call with state court counsel regarding status of        0.80        675.00         $540.00
                                distributions and plan deadlines.

 02/03/2023   JIS     PD        Call E. Schwarz regarding questions on distributions     0.10        675.00          $67.50
                                and final award letter.

 02/06/2023   JIS     PD        Call with Brad Hall regarding issues related to          0.30        675.00         $202.50
                                chapter 7 estates.

 02/08/2023   JIS     PD        Call E. Scwharz regarding distribution issues and        0.10        675.00          $67.50
                                creation of account.

 02/08/2023   JIS     PD        Call M. Lorick regarding distributions of Santa Fe       0.10        675.00          $67.50
                                awards from PSZJ trust accounts.

 02/08/2023   JIS     PD        Call Dan Fasy re mechanics for distribution to four      0.10        675.00          $67.50
                                attorney groups.

 02/09/2023   JIS     PD        Attend hearing regarding administration of chapter       0.90        675.00         $607.50
                                13 cases of survivors.

 02/09/2023   JIS     PD        Call B. Smith regarding ballot/release/certification.    0.10        675.00          $67.50

 02/09/2023   JIS     PD        Review QSF form agreements.                              0.10        675.00          $67.50

 02/13/2023   JIS     PD        Call B. Hall re plan funding and distribution issues.    0.40        675.00         $270.00

 02/15/2023   JIS     PD        Call Brad Hall regarding computation of qualified        0.20        675.00         $135.00
                                fees and expenses.

 02/15/2023   JIS     PD        Call E. Schwarz regarding settlement fund                0.20        675.00         $135.00
                                distribution issues.

 02/16/2023   JIS     PD        Call E. Schwarz regarding calculations of awards.        0.20        675.00         $135.00

                                                                                        78.10                   $52,717.50

  TOTAL SERVICES FOR THIS MATTER:                                                                              $61,965.00




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 Expenses
 11/21/2022   CC        Conference Call [E105]Loop Up Conference Call, JIS                 22.60
 12/19/2022   PO        Postage [E108] Postage                                              1.71
 12/19/2022   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                         0.90
 12/20/2022   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                        1.20
 12/30/2022   OS        Cision PR Newswire, Press Release, Horowitz Agency, Inc.        1,820.00
                        Inv. #131
 12/31/2022   RS        Research [E106] Everlaw, Inc. Inv. 71543                          500.00
 01/13/2023   CC        Conference Call [E105] AT&T Conference Call, JIS                    2.92
 01/31/2023   OS        Everlaw, Inv. 73702, AD Santa Fe database for the month of        500.00
                        January 2023
 02/16/2023   PAC       Pacer - Court Research                                             29.20

   Total Expenses for this Matter                                                    $2,878.53




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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        02/16/2023

Total Fees                                                                                             $61,965.00

Total Expenses                                                                                           2,878.53

Total Due on Current Invoice                                                                           $64,843.53

  Outstanding Balance from prior invoices as of        02/16/2023          (May not include recent payments)

A/R Bill Number          Invoice Date               Fees Billed         Expenses Billed              Balance Due
 124730                  10/31/2019                 $44,688.50              $685.56                   $11,172.12

 124969                  01/31/2020                $198,857.50            $4,949.13                   $49,714.37

 125212                  02/29/2020                $229,550.00            $5,024.17                   $57,387.50

 125465                  03/31/2020                 $49,632.50            $2,118.58                   $12,408.12

 125486                  04/30/2020                 $27,742.50              $908.67                     $6,935.62

 125487                  05/31/2020                 $85,545.00              $500.00                   $21,386.25

 125545                  12/31/2019                 $37,482.50            $1,240.04                     $9,370.62

 125547                  11/30/2019                $100,575.00            $9,556.08                   $25,143.75

 125549                  06/30/2020                 $65,475.00              $500.00                   $16,368.75

 126450                  07/31/2020                $141,957.50            $1,546.61                   $35,650.40

 126765                  08/31/2020                 $71,419.50              $876.72                   $17,854.87

 126833                  09/30/2020                  $7,512.50              $567.41                     $1,878.12

 126904                  10/31/2020                 $89,325.00            $2,234.47                   $22,331.25

 126905                  11/30/2020                 $86,197.50              $641.07                   $21,549.37

 126906                  12/31/2020                $151,132.50              $506.90                   $37,783.12

 127999                  01/31/2021                $183,875.00            $2,017.29                   $45,968.75

 128001                  02/28/2021                $123,550.00            $1,724.62                   $30,887.50

 128003                  03/31/2021                 $51,705.00              $722.35                   $12,926.25




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 128006                  04/30/2021            $23,482.50            $647.44                   $5,870.62

 128022                  05/31/2021            $18,427.50            $505.20                   $4,606.87

 128420                  06/30/2021            $14,242.50            $152.70                   $3,560.62

 128854                  07/30/2021             $3,847.50              $9.50                     $961.87

 128855                  08/31/2021             $6,952.50           $1,000.06                  $1,738.12

 128856                  09/30/2021             $9,180.00             $61.20                   $2,295.00

 129066                  10/31/2021            $24,757.50            $657.81                   $6,076.48

 131026                  11/30/2021            $33,693.50            $601.12                   $8,423.39

 131029                  12/31/2021            $62,522.00           $1,141.47                $15,630.50

 131035                  01/31/2022            $69,170.50           $7,727.31                $17,292.62

 131042                  02/28/2022            $21,521.50           $3,065.97                  $4,961.57

 131105                  07/31/2022            $22,197.50            $963.60                   $5,790.27

 131122                  08/31/2022            $23,017.50            $625.07                   $5,754.37

 131132                  09/30/2022            $28,687.50            $627.37                   $7,171.87

 131204                  10/31/2022            $25,515.00            $512.20                   $6,378.75

 131491                  11/30/2022            $19,862.00             $87.20                   $4,965.50

             Total Amount Due on Current and Prior Invoices:                                 $603,038.68




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